                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

CARRIE BIGGIO, ET AL.                                           CIVIL ACTION

VERSUS                                                          NO. 15-6034

H2O HAIR INC., ET AL.                                           SECTION "B"(2)

                              ORDER AND REASONS

         Before the Court is Defendants’ “Motion for Partial Summary

Judgment Seeking Dismissal of Plaintiffs’ Retaliation Claims.”

Rec.     Doc.   148.   Plaintiffs   filed     a   response.   Rec.   Doc.   159.1

Defendants then requested (Rec. Doc. 162), and were granted (Rec.

Doc. 168), leave to file a reply memorandum (Rec. Doc. 170). For

the reasons discussed below,

         IT IS ORDERED that Defendants’ motion for partial summary

judgment (Rec. Doc. 148) is GRANTED.

    I.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         As this Court has previously discussed, on November 18, 2015,

Plaintiffs      Carrie    Biggio    and   Chelsea    Luminais    (collectively

“Plaintiffs”), filed the present action under the Fair Labor

Standards Act (“FLSA”) against their former employer, asserting

claims individually and on behalf of all those similarly situated.

Rec. Doc. 1 at 1-2. Plaintiffs worked full-time at Defendant H2O

Hair, Inc. (“H2O”) under numerous job titles, including, but not


1 The instant motion was set for submission on May 24, 2017. Pursuant to Local
Rule 7.5, Plaintiffs’ response was therefore due no later than May 16, 2017.
However, it was untimely filed on May 17, 2017. In the interest of justice, the
Court will nevertheless consider it.

                                          1
limited     to:       apprentice,       stylist,     masseuse,     blow-dry     bar

attendant, receptionist, assistant, and housekeeper. Id. at 2.

Named as Defendants in the action are H2O, Michael John Gaspard

(“Mr.   Gaspard”),2       Holli   M.   Gaspard     (“Ms.   Gaspard”),3   and    XYZ

Insurance Company.4 Id.; see also Rec. Doc. 45 at ¶¶ 5-7. Soon

after     filing    the    complaint,     Plaintiffs       filed   a   motion   to

conditionally certify the class. Rec. Doc. 27. On March 14, 2016,

the motion was granted in part to allow conditional certification.

Rec. Doc. 44 at 15. The class now consists of thirteen former

employees. Rec. Doc. 146-1 at 1.5

      Plaintiffs asserted a number of claims against Defendants,

including retaliation. Rec. Doc. 45 at 7, ¶¶ 26-29. Specifically,

Plaintiffs alleged that their “pleas for overtime pay and their

requests that the Gaspards and H2O comply with applicable law

constituted        protected      conduct.”   Id.     at    ¶    27.   Defendants

purportedly       retaliated      by   restricting    Plaintiffs’      access    to

clients, constructively terminating employment, reducing wages

without warning or justification, imposing duties outside the




2 Mr. Gaspard served, at all relevant times, as H2O’s manager, secretary, and
treasurer. Rec. Doc. 1 at 2.
3 Ms. Gaspard served, at all relevant times, as H2O’s president. Rec. Doc. 1 at

2.
4 XYZ Insurance Company is, upon Plaintiffs’ information and belief, the unnamed

insurer providing coverage to Defendants for acts or omissions of officers and
directors. Rec. Doc. 1 at 2.
5 Plaintiffs include Biggio, Luminais, Kaitlin Dubroca, Erin Hawkins, Amanda

Henderson, Jeanette Kent, Heather Pham, Loan Tran, Diana Macera, Heather
Whittington, Kayla Alvarez, Ashley Brown, and Alison Kennedy.

                                          2
scope of Plaintiffs’ employment, threatening termination, and

demanding payment if an employee quit. Id. at ¶ 28.

     II.    THE PARTIES’ CONTENTIONS

           Defendants     argue    that   Plaintiffs         cannot    show   that    they

engaged in a protected activity under 29 U.S.C. § 215(a)(3) or

that Defendants retaliated against them for any such activity.

Rec.       Doc.   148-2    at     3.   They       note   that   they     submitted      an

interrogatory to each Plaintiff seeking disclosure of the basis of

Plaintiffs’ retaliation claims. Id. at 4. When Plaintiffs failed

to    respond,     Defendants      moved      to    compel    and     Magistrate     Judge

Wilkinson granted the motion, ordering Plaintiffs to answer the

interrogatory by May 23, 2017. Rec. Docs. 134, 144.6 On May 30,

2017, Defendants filed a motion to hold Plaintiffs in contempt and

for sanctions. Rec. Doc. 171. They argued that Plaintiffs Alvarez,

Brown, and Kennedy failed to respond to the interrogatory and that

the remaining Plaintiffs provided answers that raised objections,

were not verified under oath, and were not full and complete. Id.

at 2. The motion was referred to Magistrate Judge Wilkinson and

set for submission on June 14, 2017. Id.7

       Plaintiffs respond to the instant motion by arguing that the

affidavits relied upon by Defendants are directly contradicted by


6 Notably, Plaintiffs’ response to the instant motion was due May 16,              2017, a
week before Plaintiffs’ interrogatory responses were due. Plaintiffs               did not
refer to their interrogatory responses in their response to the instant            motion.
7 In Plaintiffs’ response to that motion, they admit that Plaintiffs               Alvarez
and Brown are no longer asserting retaliation claims. Rec. Doc. 174 at             2.

                                              3
documentary     evidence,      deposition       testimony,     and    Plaintiff

declarations. Rec. Doc. 159 at 1.8

    III. LAW AND ANALYSIS

      Under Federal Rule of Civil Procedure 56, summary judgment is

appropriate    only    if    “the   pleadings,    depositions,       answers   to

interrogatories,      and    admissions    on    file,   together     with     the

affidavits, if any, show that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment as

a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986) (quoting FED. R. CIV. P. 56(c)). See also TIG Ins. Co. v.

Sedgwick James of Wash., 276 F.3d 754, 759 (5th Cir. 2002). A

genuine issue exists if the evidence would allow a reasonable jury

to return a verdict for the nonmoving party. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The movant must point to

“portions     of      ‘the    pleadings,        depositions,     answers        to

interrogatories,      and    admissions    on    file,   together     with     the

affidavits, if any,’ which it believes demonstrate the absence of

a genuine issue of material fact.” Celotex, 477 U.S. at 323. If

and when the movant carries this burden, the non-movant must then

go beyond the pleadings and present other evidence to establish a



8 Plaintiffs also note that Defendants have not filed an answer to their amended
complaint. Rec. Doc. 159 at 2. However, the retaliation claim included in the
amended complaint is exactly the same as the retaliation claim included in the
original complaint. See Rec. Docs. 1 at 4, ¶¶ 17-20; 45 at 7, ¶¶ 26-29.
Therefore, the Court will not address Defendants’ failure to answer the amended
complaint, presumably an oversight, in conjunction with the instant motion.

                                       4
genuine issue. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986).

      However, “where the non-movant bears the burden of proof at

trial, the movant may merely point to an absence of evidence, thus

shifting to the non-movant the burden of demonstrating by competent

summary judgment proof that there is an issue of material fact

warranting trial.” Lindsey v. Sears Roebuck & Co., 16 F.3d 616,

618 (5th Cir. 1994). Conclusory rebuttals of the pleadings are

insufficient to avoid summary judgment. Travelers Ins. Co. v.

Liljeberg Enter., Inc., 7 F.3d 1203, 1207 (5th Cir. 1993).

      The FLSA makes it unlawful for any person “to discharge or in

any other manner discriminate against any employee because such

employee has filed any complaint or instituted or caused to be

instituted any proceeding under or related to this chapter . . .

.” 29 U.S.C. § 215(a)(3). “An employee asserting retaliation under

the   FLSA    may       proceed   in   one        of    two   ways:      by   direct   or

circumstantial evidence.” White v. Denton Cty., 655 F. App’x 1021,

1024 (5th Cir. 2016) (quoting Monroe Firefighters Ass’n v. City of

Monroe, No. 06-1092, 2009 WL 772829, at *3 (W.D. La. Mar. 17,

2009)).      “If    a    plaintiff     does       not    have   direct    evidence     of

retaliation, then his claim is subject to the traditional burden-

shifting framework of McDonnell Douglas Corp. v. Green.” Id.

(citing Kanida v. Gulf Coast Med. Pers. LP, 363 F.3d 568, 577 (5th

Cir. 2004)); see also McDonnell Douglas Corp. v. Green, 411 U.S.

                                              5
792 (1973). “To establish a prima facie claim of retaliation under

the McDonnell Douglas burden-shifting framework, a plaintiff must

demonstrate (1) participation in a protected activity; (2) an

adverse employment action; and (3) a causal link between the

activity and the adverse action.” White, 655 F. App’x at 1024

(citing Hagan v. Echostar Satellite, L.L.C., 529 F.3d 617, 624

(5th Cir. 2008)); see also Starnes v. Wallace, 849 F.3d 627, 631-

32 (5th Cir. 2017). As to the first element, a plaintiff engages

in a protected activity if he or she makes a “complaint.” Starnes,

849 F.3d at 632 (quoting Hagan, 529 F.3d at 626). To constitute a

“complaint,” the employee’s communication must give the employer

fair notice that he or she is “making a complaint that could

subject the employer to a later claim of retaliation” and the

“complaint must be sufficiently clear and detailed for a reasonable

employer to understand it, in light of both content and context,

as an assertion of rights protected by the [FLSA] and a call for

their protection.” Id. (quoting Lasater v. Tex. A & M Univ.-

Commerce, 495 F. App’x 458, 461 (5th Cir. 2012) (quoting Kasten v.

Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 14 (2011))).

      If a plaintiff makes a prima facie claim of retaliation, “the

defendant must then articulate a legitimate, nondiscriminatory

reason for its decision. The burden then shifts to the plaintiff

to   demonstrate   that   the   proffered   reason   is   a   pretext   for

discrimination.” White, 655 F. App’x at 1024 (citing Hagan, 529

                                    6
F.3d at 624). “A plaintiff may establish pretext either through

evidence of disparate treatment or by showing that the employer’s

proffered explanation is false or unworthy of credence . . .

[meaning that] it is not the real reason for the adverse employment

action.”     Id.    at    1024-25   (internal          quotation          marks   omitted)

(quoting Laxton v. Gap Inc., 333 F.3d 572, 578 (5th Cir. 2003)).

      Here, Defendants argue that no Plaintiff “made a complaint

concerning any violations of [the] FLSA by H2O” and that no

Plaintiff was subject to an adverse employment action because of

any   such   complaint.      Rec.   Doc.       148-2    at    4.     To    support   these

assertions,       they    provide   affidavits         by    H2O’s       office   manager,

Cherie Callaghan, and general manager, Laura Phillips. See Rec.

Docs. 148-4, 148-5.

      In her affidavit, Ms. Callaghan explained that “[i]f an

employee     of     H2O     makes    a     complaint          .      .     .   concerning

timekeeping/attendance, payroll, and compensation including but

not limited to overtime and minimum wages to any representative of

H2O, it is routed to [her] for handling.” Rec. Doc. 148-4 at 1-2.

She also stated that “[i]f any retaliatory or disciplinary action

had been taken against any of the Plaintiffs arising out of, or

related to, any complaints concerning overtime or minimum wages,

I would, more likely than not, know about it.” Id. at 2. She then

stated that no Plaintiff complained, in writing or orally, about

any unpaid earned overtime, minimum wages, or gap wages to H2O,

                                           7
the United States Department of Labor, the Louisiana Department of

Labor, or the Louisiana Workforce Commission. Id. at ¶¶ 29-35. She

also stated that H2O did not retaliate against, terminate, demote,

threaten to terminate or demote, reduce the pay or hours of, deny

or reduce the benefits of, or subject, or threaten to subject, any

Plaintiff to a hostile work environment or other detrimental

personnel action because of any complaint pertaining to unpaid

earned overtime, minimum wages, or gap wages or to inaccurate or

incomplete work time records. Id. at ¶¶ 1-28.

     In her affidavit, Ms. Phillips explained that she manages

H2O’s   human   resources   activities     and     investigates       employee

complaints that are not routed to Ms. Callaghan. Rec. Doc. 148-5

at 1. She specifically stated that her “responsibilities include

terminating or imposing any form of discipline on any employee of

H2O.” Id. at 2. She similarly stated that H2O did not retaliate

against,   terminate,   demote,    threaten   to   terminate     or    demote,

reduce the hours of, deny or reduce the benefits of, or subject,

or threaten to subject, any Plaintiff to a hostile work environment

or   detrimental   personnel      action   because    of   any    complaint

pertaining to unpaid earned overtime or minimum wages or inaccurate

or incomplete work time records. Id. at ¶¶ 1-23. Finally, she

stated that she was never asked to take any retaliatory action

against any Plaintiff because of any complaint regarding unpaid

earned overtime or minimum wages. Id. at ¶¶ 24-25.

                                     8
      Thus, Defendants, who do not bear the burden of proving

retaliation at trial, have provided competent summary judgment

evidence that shows they are not subject to claims of retaliation.

In response, Plaintiffs cite to various documents in the record in

an attempt to demonstrate an issue of material fact warranting

trial on this claim.

      First, Mr. Gaspard testified during his deposition that he

“heard there was some disgruntleness [sic]” among some employees,

i.e. “there were a number of them disgruntled and starting to say,

[w]e’re going to quit,”9 so he told them that “if there’s anyone

here that’s unhappy . . . I will let you out of the . . . training

agreement, and no one took me up on it.” Rec. Doc. 159-2 at 1-2,

4. He testified that he gave the employees until the end of the

week to take him up on this offer. Id. at 3. When Plaintiffs’

counsel asked Mr. Gaspard if he remembered anyone complaining about

a cost increase, Mr. Gaspard stated “No.” Id. at 5-6.

      This testimony does not establish that Plaintiffs engaged in

a protected activity. Even though Mr. Gaspard admitted that some

employees were disgruntled and threatening to quit, nowhere in his

testimony does he state that Plaintiffs were complaining about



9 In their response memorandum, Plaintiffs state that Mr. Gaspard “hosted a
meeting with a number of ‘disgruntled’ employees who had discussed quitting
over the treatment and pay at H2O.” Rec. Doc. 159 at 4 (emphasis added). However,
there is no evidence to show the basis for these employees’ complaints; at most,
Mr. Gaspard’s deposition testimony recognizes that some of the employees were
“disgruntled” and were thinking about quitting.

                                       9
Defendants’ alleged violations of, or Plaintiffs’ rights under,

the FLSA.

       Mr. Gaspard nevertheless admitted that he was suing some

people for breaching the training agreement. Rec. Doc. 159-2 at 3.

“[T]hey know when they come to employ with us, and they sign that,

that it is a legal and binding agreement.” Id. at 5.

       It appears from Plaintiffs’ response memoranda to the instant

motion, and the pending motion for sanctions, that Plaintiffs

consider Defendants’ lawsuits, and associated “threats” to sue,

adverse employment actions.10 However, Plaintiffs must also prove

that    these   sanctions   were    causally       connected    to   Plaintiffs’

protected activities. Plaintiffs fail to make this argument in an

organized or effective way; nonetheless, the Court will consider

all of the evidence presented by Plaintiffs in response to the

instant motion and attempt to find any evidence of a protected

activity, a threat to sue, and a causal connection between these

events. However, even if the Court finds such evidence, Mr.

Gaspard’s deposition testimony suggests that he sued or threatened

to     sue   because   certain     employees       breached    their   training

agreements,     not    because     they    might     have     complained   about

Defendants’ alleged FLSA violations. Thus, Plaintiffs would have




10For the purposes of this motion, the Court will assume that such activities
constitute adverse employment actions.

                                      10
to present evidence that this proffered explanation is unworthy of

credence. The Court will attempt to find any such evidence.

      When   Plaintiffs’     counsel    asked    Mr.   Gaspard    about   why

Plaintiff Tran left H2O, Mr. Gaspard testified that he believed

she quit and that he did not recall her explaining why she quit or

if there was any issue with how she was paid. Rec. Doc. 159-3 at

1.   Plaintiffs   produced   screenshots    of    October   31,   2014    text

messages from Mr. Gaspard to Plaintiff Tran in which Mr. Gaspard

asked Plaintiff Tran to communicate with him, acknowledged that

there was “confusion and how you were paid” and “it’s obvious that

your pay was not done correctly from what Sharee is [sic] told me

but that’s an easy fix.” Rec. Doc. 159-4 at 1. When Plaintiff Tran

failed to respond, he stated that he hopes Plaintiff Tran realizes

“the unnecessary cost this is going to bring to you.” Id. at 2.

After he was shown these text messages during the deposition, Mr.

Gaspard stated that he believed Plaintiff Tran was complaining

about “not making enough or something.” Rec. Doc. 159-3 at 2. He

was unable to recall why he said her pay was done incorrectly. “I

just remember that she . . . needs to be communicated with so that

she understands if . . . it was a mistake we want to make it

right.” Id. at 3-4. He also explained that the “unnecessary cost”

was his way of explaining that “she’s not going to be able to enter

into what’s coming up next for her . . . if you can just stick it

out until you learn this then you start growing at an exponential

                                       11
rate.” Id. at 4. Plaintiffs’ counsel specifically asked if it was

“possible you were referring to the cost of [a] lawsuit for her

leaving?” Id. at 5. Mr. Gaspard responded “No. I don’t threaten

people.” Id. Later, Mr. Gaspard states that “these people all quit.

They weren’t terminated.” Id. at 9.

     The text messages suggest that Plaintiff Tran complained

about her pay to either Ms. Callaghan or Mr. Gaspard. The Court

will assume that she made this complaint and thereby engaged in a

protected   activity.   The   only   apparent   adverse   action   is   Mr.

Gaspard’s statement about the “unnecessary cost” that Plaintiff

Tran may suffer. This could be construed as a threat to sue or

terminate employment, and therefore an adverse employment action,

but for the fact that Mr. Gaspard explicitly testified that he was

not referring to a potential lawsuit or termination. Rather, he

was referring to the opportunities that Plaintiff Tran would lose

if she quit. Plus, even if the statement was considered a threat,

Plaintiffs did not show that the statement was made in response to

Plaintiff Tran’s complaint. Instead, the text messages suggest

that Mr. Gaspard was reacting to Plaintiff Tran’s failure to

respond and the possibility that she            might quit. Again, the

proffered evidence fails to establish a           prima facie      case of

retaliation.

     Plaintiffs’ counsel then asked Mr. Gaspard about Plaintiff

Kent and produced a screenshot of November 15, 2014 text messages

                                     12
that Mr. Gaspard sent to Plaintiff Kent asking the latter to call

him to explain “what’s going on with you leaving today.” Rec. Doc.

159-6. He then texted “I expect you to call me this is not going

to go well with your agreement if you don’t start explaining to me

you’re walking out[] I wouldn’t think [a]s a Christian that you

would want to be involved in a legal situation[] this is my last

request.” Id. During his deposition, Mr. Gaspard explained that

this was not a threat, but that he “reminded her . . . of her

agreement.” Rec. Doc. 159-5 at 3. “[T]hey have an agreement with

us and if you just walk out on it . . . you’re going to owe money

on this agreement. Are you prepared for that? I mean . . . you’re

going to owe us money cause you got all the education and you’re

leaving.” Id. at 3-4.

     Again,   the    text   messages     and     accompanying    deposition

testimony evidencing Mr. Gaspard’s threat to sue do not amount to

evidence of an adverse employment action causally related to a

protected activity. Mr. Gaspard made the statements in response to

Plaintiff Kent “leaving” or “walking out.” Whether that means

Plaintiff Kent walked off the job, quit, or simply left for the

day, none of these actions amount to a protected activity.

     Plaintiffs also attached other documents to their response

memorandum.   For   example,   there    is   a   handwritten    letter   from

Plaintiff Kent stating “Can I please be off on Mondays and I can

work Tues-Sat. I know we can’t get overtime so maybe I can have a

                                   13
short day during the week.” Rec. Doc. 159-7 at 1. However, this

document is not dated or addressed; nor is it verified by an

affidavit or deposition testimony. Plaintiffs’ counsel asked Ms.

Callaghan about the document during her deposition, but she stated

that she never recalled seeing it and that scheduling was handled

by   Ms.    Phillips.    Rec.    Doc.      159-9    at    1.   In   their     response

memorandum, Plaintiffs argue that, by acknowledging that this

complaint would have been handled by Ms. Phillips, Ms. Callaghan’s

deposition testimony contradicts her affidavit statement that

complaints      concerning       “timekeeping/attendance,            payroll,      and

compensation” are handled by her. Rec. Doc. 159 at 3-4.

      The    document,     which    is     not     competent     summary      judgment

evidence (see, e.g. Essel v. Purdy, 112 F. App’x 326, 327 (5th

Cir. 2004) (“unsworn documents are not competent summary judgment

evidence”) (citing Fed. R. Civ. P. 56(e); Martin v. John W. Stone

Oil Distr., Inc., 819 F.2d 547, 549 (5th Cir. 1987))), does not

amount to a protected activity. Plaintiff Kent did not appear to

be complaining about Defendants’ alleged FLSA violations, but

simply requesting a schedule change. Even if it was a protected

activity, Plaintiffs did not point to any adverse employment

action.

      Another document contains the handwritten notation “Dubroca

Pers.   File”   at   the   top     right    corner       and   appears   to    contain

handwritten notes. Rec. Doc. 159-8. When asked “Where do you feel

                                           14
you need help from the leadership of H2O,” the response appears to

be “I feel like I need help with getting my clientel [sic] to come

in the salon. I always have people wanting to come in but so hard

for them to come in only when I am off.” Id. In their response

memorandum, Plaintiffs describe this document as “Dubroca Request

to   not   work   during    off-time.”     Rec.    Doc.    159   at   1-2.   Again,

Plaintiffs’ counsel asked Ms. Callaghan about this document during

her deposition, but Ms. Callaghan testified that she never recalled

seeing it. Rec. Doc. 159-9 at 3.

      This document is not competent summary judgment evidence. Nor

does it amount to a protected activity. It is not clear that

Plaintiff Dubroca was complaining about working off the clock.

Rather, the statement could be interpreted to mean that she was

not scheduled to work on days that prospective clients were

available.    Without      more,   the   note     cannot   be    construed    as   a

complaint    about    Defendants’        alleged    FLSA    violations.      Plus,

Plaintiffs do not point to any adverse employment action resulting

from this supposed complaint.

      The last document includes the names “Amanda,” “Carrie,” and

“Kaitlin,” a header titled “Reduction” and amounts totaling 52.70,

169.56, and 56.95, respectively, for a period ranging from October

25, 2013 to November 7, 2013. Rec. Doc. 159-12. This document is

not verified in any way and therefore is not competent summary

judgment evidence. Further, if Plaintiffs are trying to suggest

                                         15
that these reductions were adverse employment actions, they fail

to causally connect the reductions to any protected activity.

     Finally,    Plaintiffs      cite       to   declarations   by   Plaintiffs

Dubroca and Whittington. Both state that “[o]n numerous occasions

the Defendants threatened me and other employees with high cost

legal bills and being sued if we decided to quit.” Rec. Docs. 159-

10 at ¶ 6; 159-11 at ¶ 6.

     This is insufficient. Plaintiffs do not suggest that these

threats were made in response to a protected activity, but to their

own threats to quit. Plus, Mr. Gaspard’s testimony suggests that

he made “threats” to sue only when employees breached or threatened

to breach their training agreements, not when employees complained

about possible FLSA violations. Plaintiffs have not presented any

evidence to doubt this proffered explanation.

     Plaintiffs Dubroca and Whittington further state that during

December of 2013 Plaintiff Dubroca, in Plaintiff Whittington’s

presence, notified Defendants of “wage calculations and overtime

wages owed to us.” Rec. Docs. 159-10 at ¶ 7; 159-11 at ¶ 11. They

were apparently told “that is not how our company works.” Id. When

Plaintiff    Dubroca    “asked   for    contact      information     for   ‘labor

enforcement’ to verify the Defendants pay practices,” she “was

given a random amount of money for that pay period.” Id.

     This is the first allegation of a complaint about FLSA

violations    that     amounts   to     a    protected   activity.     However,

                                        16
Plaintiffs fail to connect this complaint to any adverse employment

action.

  IV.     CONCLUSION

     Because Plaintiffs failed to present evidence of a prima facie

case of retaliation or an issue of material fact warranting trial,

     IT IS ORDERED that Defendants’ motion for partial summary

judgment    (Rec.   Doc.   148)   is        GRANTED   and   that   Plaintiffs’

retaliation claims are DISMISSED.

     New Orleans, Louisiana, this 8th day of June, 2017.



                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE




                                       17
